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                IN THE UNITED STATES DISTRICT COURT FOR THE
                       EASTERN DISTRICT OF OKLAHOMA

KELLY D. TEAL,                                )
                                              )
              Plaintiff,                      )
                                              )
v.                                            )
                                              )
ATOKA COUNTY MEDICAL CENTER, a                )    Case No. 15-CV-199-SPS
public trust, BEVERLY PICKETT,                )
individually and PAUL REANO,                  )
individually, jointly and severally,          )
                                              )
              Defendants.                     )
                                              )

               JOINT STIPULATION OF DISMISSAL WITH PREJUDICE

       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), Plaintiff Kelly D. Teal and

Defendants Atoka County Medical Center, Beverly Pickett, and Paul Reano hereby stipulate and

agree that the above captioned matter be dismissed with prejudice. Each party is to bear their

own attorneys’ fees and costs.

       Dated this 26th day of August, 2016.

                                              Respectfully submitted,

                                              s/Brendan M. McHugh
                                              (Signed by Filing Attorney with Permission)
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                                              AND

                                              s/Dana Jim
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                                       s/Tanya S. Bryant
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